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Case 1:05-cr-01849-JCH Document 1765-1 Filed 12/04/09 Pagelof1

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Vd. Arizona mepsremenk. eh CRenApprtation

Aeronautics Division
ADOT Post Office Box 13588 Phoenix, Arizona 85002-3588
Janet Napottan 2005 JUN 7 PM 2 48 Baciay De
iovemor ivision Direct
iciori. dees FEDERAL AVIATION NE
Director ADMINISTRATION
NOTICE AND CLAIM OF LIEN
NOTICE IS HEREBY GIVEN DANA E. JARVIS

4891 N. VIA SERENDIDAD-TUCSON, AZ 85718

and all other person having

‘any interest in 1972 CESSNA 421B aircraft, S#_421B0230 registry, N# 3AJ that a lien for
registration and license fees, and later penalty assessments, is hereby asserted on the above described
aircraft in accordance with A. R. S. §28-8330 in favor of the State of Arizona, Department of

Transportation, Aeronautics Division. The lien is for obligations listed below:

J LiewTax ce 775.00
2. Registration Fee steteteeeesceeeesee 0,00
3. Penalty 35.00
4. Previous Balance ooo. eeeeeeccecsces. 0.00
5. FAA Recording Fee ..................... 5.00
6. TOTAL Oo eececeeee 825.00

(THIS LIEN ONLY REPRESENTS TAXES DUE THRU MAY 31, 2005)

DATE: __ MAY 17, 2005

ARIZONA DEPARTMENT OF TRANSPORTATION
AERONAUTICS DIVISION

BY arta Me July
Marian McNeéty
Aviation Revenue Manager

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02/82/50 co's 2001 Award Recipient
SSSPOLTPPTSO

